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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                           :
                                                   :     CRIMINAL NO. 21-cr-670
                 v.                                :
                                                   :
STEPHEN K. BANNON,                                 :
                                                   :
                                                   :
                 Defendant.                        :

                                    JOINT STATUS REPORT

        Pursuant to the Court’s November 18, 2021 Order, the parties respectfully submit this joint

status report.   Specifically, the Court has requested the parties’ positions regarding the scope of

discovery each party intends to seek pre-trial, the anticipated length of trial, and anything else

relevant to consideration of the trial date.     The parties conferred by telephone and email on

December 2, 3, and 6, 2021, and together provide the following:

I.      Length of Trial

        Government’s Position

        The Government anticipates that its case-in-chief will consist of one day of testimony.

The Government would be amenable to using a jury questionnaire to shorten the time jury selection

will take and to allow the Court and the parties to make some cause determinations in advance.

        Defendant’s Position

        Although it is too early in the case to estimate with any degree of precision the length of

time it will take to cross-examine Government witnesses, or the number of witnesses that would

be called in the defense case, our best estimate is that a trial in this matter would take approximately



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10 trial days. The defense expects that jury selection will take three days.

II.     Anticipated Pretrial Discovery

        Government’s Position

        If its anticipated motion in limine to exclude evidence of advice-of-counsel, described

further below, is denied, and the defendant intends to raise such a defense, the Government

anticipates seeking discovery regarding the defendant’s communications and records relating to

any advice from counsel he received regarding the congressional subpoena.

        The Government requests that the Court impose a deadline of December 13, 2021, for the

defendant to make further discovery demands of the prosecution team. The Government will

respond to the defendant by December 17, 2021. The Government’s position is that the additional

materials the Defendant has identified that he intends to request are not discoverable or are not in

the possession, custody, or control, of the prosecution team. The Government does not anticipate

using or calling any expert witnesses in the preparation or presentation of its case.

        Defendant’s Position

        The Defendant plans to seek discovery from the sources listed below. The list is not

intended to serve as a complete list, or to specify exactly what documents we plan to pursue at this

stage. Again, it is too early in the process to provide specifics. Often it is only after an investigation

of available facts that new avenues are identified. The D.C. Circuit has held that the threshold for

showing that documents must be disclosed by the Government under Rule 16 as “material to the

preparation of the defendant’s defense” is not a heavy burden. See United States v. Lloyd, 992 F.2d

348, 351 (D.C. Cir. 1993). The list below is intended to give the Court an idea of the scope of



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discovery at a macro level, for purposes of setting a trial date. With that as a backdrop, we state as

follows. We expect to seek discovery materials from the following sources: (1) the U.S. Attorney’s

Office (grand jury materials, including the charge given to the grand jury, and documents reflecting

the decision to charge Mr. Bannon); (2) the main U.S. Department of Justice (documents reflecting

the decision to charge Mr. Bannon); (3) other Executive Branch components, including the White

House (documents reflecting the decision to charge Mr. Bannon); and (4) the U.S. House of

Representatives (documents reflecting the authorization of the subpoena and the steps taken to

seek a criminal referral of Mr. Bannon, and the consideration of alternatives). In addition, we

expect that there will be a need for expert discovery.

       The Government has asked for a date by which the defense should provide a letter

identifying what discovery is requested. We agree to provide a discovery request letter by January

13, 2022. We respectfully request that the Court set a deadline of January 27, 2022, when the

Government must respond. The Government response will allow the defense to be in a better

position to determine whether we will need to pursue discoverable material through subpoena or

other means.

III.   Anticipated Pretrial Motions

       A.      Motions to Dismiss

       Government’s Position

       The Government’s position is that, because motions to dismiss generally are limited to the

four corners of the indictment, the defendant should file any motions to compel discovery related

to grounds for dismissal with his motions to dismiss. It is the Government’s position that none of



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the issues the defendant raises as potential bases for his motions to dismiss are novel, and that

therefore it is not necessary or in the interests of justice to allow an eight-month delay between

indictment and the filing of motions to dismiss.

       Defendant’s Position

        It is too early in the case to identify with specificity what motions the defense will file in

this case. Naturally, motions to dismiss the indictment will be determined by what facts are

identified during discovery. Based on the information obtained to date, we anticipate filing motions

to dismiss the indictment. To our knowledge, no citizen has been criminally charged under 2

U.S.C. Section 192 in many years. In addition, Mr. Bannon’s communications with the U.S. House

Select Committee included the invocation of executive privilege. This case raises complex

constitutional issues of first impression. Some of these issues involve inter-branch relationships

and on the operations of the U.S. government at its highest levels. There is no basis for having

these issues adjudicated on a rushed basis.

       By deciding to proceed with a criminal referral rather than initiating a civil enforcement

action, the impact was at least three-fold. First, it cut short the accommodation process that would

have led to the disclosure of non-privileged information. Second, it triggered a variety of Fifth and

Sixth Amendment constitutional rights for Mr. Bannon that otherwise would not have been

implicated and which must be assiduously honored. Third, it gave rise to a variety of individual

constitutional rights-based defenses which must all be explored as well as constitutional issues of

an institutional variety, including important separation of powers considerations.

       The Government has stated that it may file a motion in limine to exclude the defense of



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advice of counsel. The defense believes that such a motion is best considered after full briefing,

along with other motions in limine that may be filed by the parties.

       In terms of timing, the more discovery that we are able to obtain in advance of filing

motions, the better the record on which these important issues can be resolved. We suggest a

motions deadline of July 15, 2022 – which is in line with the motions date set in other cases which

will be tried in October 2022. We also suggest 30 days for oppositions, given the complexity of

the issues involved.

       B.      Motions in Limine

       Both parties anticipate filing motions in limine in advance of trial and believe that a

motions deadline should be set for such motions that allows the Court time to first resolve any

motions to dismiss, with the exception of the Government’s anticipated motion in limine to exclude

evidence and argument relating to advice-of-counsel, as described further below.

       Government’s Position

       Based on the defense’s public statements, the Government anticipates filing a motion in

limine to exclude evidence and argument relating to any advice of counsel on the basis that it is

not a defense to the pending charges.        Should the Court deny any motion in limine the

Government may file and allow the defendant to raise this defense, however, the Government

believes it will be entitled to discovery of all communications and records involving any

attorney(s) on whose advice the defendant claims he relied. The Government is willing to file

this motion in limine at the time the defendant files his motions to dismiss so that any discovery

related to a potential advice-of-counsel defense can be resolved well in advance of trial.



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       Defendant’s Position

       See response to III.A. above.

IV.    Request for Scheduling Order

       Government’s Position

       The Government requests a trial date on or before April 15, 2022—six months from the

indictment. The Government’s position is that there is not a basis to exclude time under the

Speedy Trial Act in this case pursuant to 18 U.S.C. § 3161(h)(7) (an ends of justice exclusion).

At this time, the only exclusions the Government believes would be potentially applicable are

3161(h)(1D) and (h)(1H) (exclusions for pretrial motions and proceedings under advisement by

the Court). Given the public right to a speedy trial in this and all criminal cases, the Government

requests a scheduling order in accordance with the 70-day speedy trial requirement and this Court’s

COVID-19 procedures that, along with any additional scheduling requirements the Court finds

appropriate, includes:

       1) a deadline for the defendant to make a discovery demand of the prosecution team, if he
          has one, and a deadline for the prosecution team to respond;

       2) a deadline for any motions to dismiss, motions to compel discovery, and the
          Government’s motion in limine to exclude advice-of-counsel, as well as deadlines for
          any oppositions, replies, and, if needed, argument relating to these motions;

       3) a deadline for any motions in limine, as well as deadlines for any oppositions, replies,
          and, if needed, argument relating to these motions; and

       4) a trial date.

       Defendant’s Position

       The discovery process will take time and effort. We will need adequate time to prepare a



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defense. It will also take time to fully brief and argue the motions in this case. As stated above,

there are constitutional issues of first impression involved. It will be important first to develop an

adequate factual record on which those issues can be decided, and second to draft the briefs. In the

normal course of things, the Government would not seek an early trial date for a defendant who is

not incarcerated. The average life of a criminal case in the U.S. District Court for the District of

Columbia is about a year. See U.S. District Court Judicial Caseload Profile (available at

https://www.uscourts.gov/statistics/table/na/federal-court-management-statistics/2021/06/30-1)

(last viewed on December 6, 2021). In our view, this is not the average criminal case on the docket

– because it will take more time to obtain discovery, and more time to fully brief the issues.

       Accordingly, we respectfully request that the Court consider these issues as it sets a pre-

trial and trial schedule. See Attachment A (Defendant’s proposed pretrial order). The Defendant

respectfully requests a trial date of October 17, 2022, if that is convenient for the Court and

counsel.

V.     Scheduling Conflicts

       Government’s Position

       The Government is ready for trial and will be available for any trial date the Court

schedules.

       Defendant’s Position

       See response to IV. above.




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                                       Respectfully submitted,


MATTHEW M. GRAVES                      SILVERMAN|THOMPSON|SLUTKIN|WHITE, LLC
United States Attorney
D.C. Bar No. 481052                    /s/ M. Evan Corcoran
                                       M. Evan Corcoran (D.C. Bar No. 440027)
/s/ Amanda R. Vaughn                   210 N. Charles Street, 26th Floor
J.P. Cooney (D.C. 494026)              Baltimore, MD 21201
Molly Gaston (VA 78506)                Telephone: (410) 385-2225
Amanda R. Vaughn (MD)                  Facsimile: (410) 547-2432
Assistant United States Attorneys      Email: ecorcoran@silvermanthompson.com
United States Attorney’s Office
555 4th Street, N.W.                   /s/ David I. Schoen
Washington, D.C. 20530                 David I. Schoen (D.C. Bar No. 391408)
(202) 252-1793 (Vaughn)                David I. Schoen, Attorney at Law
amanda.vaughn@usdoj.gov                2800 Zelda Road, Suite 100-6
                                       Montgomery, Alabama 36106
Counsel for United States of America   Telephone: (334) 395-6611
                                       Facsimile: (917) 591-7586
                                       Email: schoenlawfirm@gmail.com

                                       Counsel for Defendant Stephen K. Bannon




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